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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 14 B 02370
         Patricia A Smith-Jones

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        Marilyn O. Marshall, chapter 13 trustee, submits the following Final Report and Account
of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 01/27/2014.

         2) The plan was confirmed on 06/11/2014.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on 03/24/2015.

         5) The case was Dismissed on 04/29/2015.

         6) Number of months from filing to last payment: 12.

         7) Number of months case was pending: 17.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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 Receipts:

           Total paid by or on behalf of the debtor                  $7,412.15
           Less amount refunded to debtor                                $0.00

 NET RECEIPTS:                                                                                          $7,412.15


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                      $3,843.00
     Court Costs                                                                    $0.00
     Trustee Expenses & Compensation                                              $232.81
     Other                                                                          $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                      $4,075.81

 Attorney fees paid and disclosed by debtor:                       $500.00


 Scheduled Creditors:
 Creditor                                            Claim         Claim            Claim       Principal      Int.
 Name                                      Class   Scheduled      Asserted         Allowed        Paid         Paid
 Account Recovery Service              Unsecured         132.00           NA              NA            0.00       0.00
 Afni, Inc.                            Unsecured         560.00           NA              NA            0.00       0.00
 American InfoSource LP as agent for   Unsecured           0.00        616.37          616.37           0.00       0.00
 America's Financial Choice Inc        Unsecured         585.00        585.02          585.02           0.00       0.00
 Arm Professional Ser                  Unsecured           1.00           NA              NA            0.00       0.00
 ATG CREDIT LLC                        Unsecured          29.00           NA              NA            0.00       0.00
 Cerastes                              Unsecured           0.00        690.00          690.00           0.00       0.00
 Cerastes                              Unsecured           0.00        710.00          710.00           0.00       0.00
 Cerastes                              Unsecured           0.00        510.00          510.00           0.00       0.00
 Cerastes                              Unsecured           0.00        510.00          510.00           0.00       0.00
 Cerastes                              Unsecured           0.00      1,500.00        1,500.00           0.00       0.00
 CNAC/Mi106                            Unsecured      6,799.00            NA              NA            0.00       0.00
 Commonwealth Edison                   Unsecured           0.00        712.45          712.45           0.00       0.00
 Continental Furniture                 Unsecured      1,520.00            NA              NA            0.00       0.00
 Credit Management Lp                  Unsecured         626.00           NA              NA            0.00       0.00
 Enhanced Recovery Co L                Unsecured         405.00           NA              NA            0.00       0.00
 Eos Cca                               Unsecured         167.00           NA              NA            0.00       0.00
 Illinois Dept of Revenue              Priority       3,515.00            NA              NA            0.00       0.00
 Internal Revenue Service              Priority       6,520.00       5,778.00        5,778.00           0.00       0.00
 NCEP LLC                              Unsecured            NA       8,825.41        8,825.41           0.00       0.00
 NCEP LLC                              Secured       19,210.00     13,650.00        13,650.00      2,878.47     457.87
 Peoples Energy Corp                   Unsecured         639.00           NA              NA            0.00       0.00
 Peoples Engy                          Unsecured         324.00           NA              NA            0.00       0.00
 Pinnacle Credit Servic                Unsecured      1,154.00            NA              NA            0.00       0.00
 QC Holdings dba National Quik Cash    Unsecured      1,000.00       1,576.71        1,576.71           0.00       0.00
 Sprint Corp                           Unsecured           0.00        832.43          832.43           0.00       0.00
 State Colls                           Unsecured         143.00           NA              NA            0.00       0.00
 Stellar Recovery Inc                  Unsecured         567.00           NA              NA            0.00       0.00
 Unv Fidlty                            Unsecured          57.00           NA              NA            0.00       0.00




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 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                       $0.00              $0.00             $0.00
       Mortgage Arrearage                                     $0.00              $0.00             $0.00
       Debt Secured by Vehicle                           $13,650.00          $2,878.47           $457.87
       All Other Secured                                      $0.00              $0.00             $0.00
 TOTAL SECURED:                                          $13,650.00          $2,878.47           $457.87

 Priority Unsecured Payments:
        Domestic Support Arrearage                            $0.00               $0.00             $0.00
        Domestic Support Ongoing                              $0.00               $0.00             $0.00
        All Other Priority                                $5,778.00               $0.00             $0.00
 TOTAL PRIORITY:                                          $5,778.00               $0.00             $0.00

 GENERAL UNSECURED PAYMENTS:                             $17,068.39               $0.00             $0.00


 Disbursements:

         Expenses of Administration                             $4,075.81
         Disbursements to Creditors                             $3,336.34

 TOTAL DISBURSEMENTS :                                                                       $7,412.15


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 06/29/2015                             By:/s/ Marilyn O. Marshall
                                                                     Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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